UNPPED ST MP's RICH TEOE APP ages FOR FIFE HARD CHE RIT

CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:

Atlas Data Privacy Corporation, et al. (Appellee) v. The People Searchers, LLC et al.

APPEAL FROM DISTRICT COURT:
District: District of New Jersey

D.C. Docket No.: 1:24-cv-04045 (HB)

Date proceedings initiated in D.C.: March 20, 2024

Date Notice of Appeal filed: March 28, 2025

USCA No.: 25-1557

COUNSEL ON APPEAL

Appellant(s): The People Searchers, LLC

Name of Counsel: Robert T. Szyba, Seyfarth Shaw LLP

Name of Party(ies): People Searchers, LLC

Address: 620 Eighth Avenue, New York, NY 10018

Telephone No.: 212-218-5500

Fax No.: 212-218-5526

E-mail: rszyba@seyfarth.com

For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
Name of Counsel: Rajiv D. Parikh; Jessica A. Merejo; Kathleen B. Einhorn of PEM Law LLP

Name of Party(ies): Atlas Data Privacy Corporation, Jane Doe-1, Jane Doe-2, and Peter Andreyev

Address: 1 Boland Drive, Suite 101, West Orange, NJ 07052

Telephone No.: 973.577.5500

Fax No.:

E-mail: : rparikh@pemlawfirm.com; jmerejo@pemlawfirm.com; keinhorn@pemlawfirm.com

Name of Counsel: See Attached Addendum

Name of Party(ies):

Address:

Telephone No.:

Fax No.::

E-mail:

Is this a Cross-Appeal? Yes [_] No
Appeals Docket No.:

Was there a previous appeal in case? Yes [_] No
If yes, Short Title:

Appeals Docket No.:

Citation, if reported:

To your knowledg@Setherd any cahkagursehdife oF ANF DOAGUEHEGe Gd He0eQurt or any other

court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal? Yes [__] No
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?

Yes No[_]
If you answered yes to either “a” or “b” please provide:
Case Name: See attached addendum of consolidated cases
D.C. Docket No.:
Court or Agency:
Docket Number:
Citation, if reported:
NATURE OF SUIT
(Check as many as apply)
1. FEDERAL STATUTES [ JASSAULT/DEFAMATION
[ JANTITRUST [_ ]PRODUCT LIABILITY/WARRANTY
| |JBANKRUPTCY | |DIVERSITY
| IBANKS & BANKING | JOTHER Specify:
| _|CIVIL RIGHTS
[| ]JCOMMERCE, ROUTES, AND TARIFFS 3. CONTRACTS
| |COMMODITIES | JADMIRALTY/MARITIME
| |COMMUNICATIONS | J|ARBITRATION
| |CONSUMER PROTECTION | |COMMERCIAL
[ |COPYRIGHT | JEMPLOYMENT
| |PATENT | |INSURANCE
[| |JTRADEMARK | JNEGOTIABLE DISBURSEMENTS
| JELECTION [ JOTHER Specify:
[ JENERGY
| JENVIRONMENTAL 4. PRISONER PETITIONS
[_ ]FOIA FREEDOM OF INFORMATION [_|CIVIL RIGHTS
| JIMMIGRATION [ ]VACATE SENTENCE 2255
[| |LABOR [| JHABEAS CORPUS 2254
[ JOSHA [ JHABEAS CORPUS 2241
[_]SECURITIES | JMANDAMUS/PROHIBITION
[_ ]SOCIAL SECURITY [_]JOTHER Specify:
[ |TAX
[| JEQUAL ACCESS TO JUSTICE 5. OTHER
[_]OTHER Specify: [_ ]FORFEITURE
[_|CIVIL GRAND JURY
2. TORTS [_]TREATY Specify:
[ JADMIRALTY [VJOTHER Specify: NJSA 56:8-166.1, et seq.

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
14th day of April , 20.25

Signature of Counsel: /S/ Robert T. Szyba

Case: 25-1557 Document:18 Page:3 Date Filed: 04/14/2025

ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
(FOR NO. 25-1557)

Counsel on Appeal (cont. from page | of Civil Appeal Information

Statement): For Appellee(s):

Name of Counsel: Adam R. Shaw; Mark C. Mao; Eric M. Palmer;
Samantha D. Parrish of Boies Schiller Flexner LLP

Names of Party(ies): | Atlas Data Privacy Corporation, Jane Doe-1, Jane Doe-
2, Edwin Maldonado, Scott Maloney, Justyna Maloney,
Peter Andreyev, and William Sullivan

Address: 30 S. Pearl Street, 12th Floor, Albany, NY 12207
Telephone No.: 518-434-0600
Email: ashaw(@bsfllp.com; mmao@bsfllp.com;

epalmer(@bsfllp.com; sparrish@bsfllp.com

Name of Counsel: Kashif T. Chand, Esq.

Names of Party(ies): Intervenor, Attorney General New Jersey

Address: Office of Attorney General of New Jersey, 124 Halsey
Street, 5" Floor, Newark, NJ 07102

Telephone No.: 908-705-3958

Email: Kashif.chand(@law.njoag.gov

Case: 25-1557

Document: 18 Page:4 Date Filed: 04/14/2025

Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
1:24-cv-4037-HB

United States District Court for the District of New Jersey
25-1555

Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
1:24-cv-04041-HB

United States District Court for the District of New Jersey
25-1556

Atlas Data Privacy Corp., et al v. DM Group, Inc., et al.
1:24-cv-4075-HB

United States District Court for the District of New Jersey
25-1558

Atlas Data Privacy Corp., et al v. Deluxe Corporation, et al.
1:24-cv-4080-HB

United States District Court for the District of New Jersey
25-1559

Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
1:24-cv-4098-HB

United States District Court for the District of New Jersey
25-1560

Atlas Data Privacy Corp., et al v. Yardi Systems, Inc., et al.
1:24-cv-4103-HB

United States District Court for the District of New Jersey
25-1561

Atlas Data Privacy Corp., et al v. Digital Safety Products, LLC
1:24-cv-4141-HB

United States District Court for the District of New Jersey
25-1562
Case: 25-1557

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Document: 18 Page:5 Date Filed: 04/14/2025

Atlas Data Privacy Corp., et al v. Civil Data Research
1:24-cv-04143-HB

United States District Court for the District of New Jersey
25-1563

Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
1:24-cv-04160-HB

United States District Court for the District of New Jersey
25-1564

Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
1:24-cv-4174-HB

United States District Court for the District of New Jersey
25-1565

Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
1:24-cv-4176-HB

United States District Court for the District of New Jersey
25-1566

Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
1:24-cv-4178-HB

United States District Court for the District of New Jersey
25-1567

Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
1:24-cv-04256-HB

United States District Court for the District of New Jersey
25-1568

Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
1:24-cv-04261 -HB

United States District Court for the District of New Jersey
25-1569

Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
1:24-cv-04269-HB

United States District Court for the District of New Jersey
25-1570
Case: 25-1557

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Document: 18 Page:6 Date Filed: 04/14/2025

Atlas Data Privacy Corp., et al v. Melissa Data Corp., et al.
1:24-cv-4292-HB

United States District Court for the District of New Jersey
25-1571

Atlas Data Privacy Corp., et al v. Restoration of America, et al.

1:24-cv-4324-HB
United States District Court for the District of New Jersey
25-1572

Atlas Data Privacy Corp., et al v. i360, LLC, et al.
1:24-cv-4345-HB

United States District Court for the District of New Jersey
25-1573

Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
1:24-cv-04380-HB

United States District Court for the District of New Jersey
25-1574

Atlas Data Privacy Corp., et al v. Accuzip, Inc.,
1:24-cv-4383-HB

United States District Court for the District of New Jersey
25-1575

Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
1:24-cv-4385-HB

United States District Court for the District of New Jersey
25-1576

Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc..
1:24-cv-4389-HB

United States District Court for the District of New Jersey
25-1577

Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
1:24-cv-04390-HB

United States District Court for the District of New Jersey
25-1578
Case: 25-1557

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Document: 18 Page:7 Date Filed: 04/14/2025

Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
1:24-cv-4392-HB

United States District Court for the District of New Jersey
25-1579

Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
1:24-cv-4434-HB

United States District Court for the District of New Jersey
25-1580

Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
1:24-cv-04609-HB

United States District Court for the District of New Jersey
25-1581

Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
1:24-cv-4664-HB

United States District Court for the District of New Jersey
25-1582

Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.,
1:24-cv-04949-HB

United States District Court for the District of New Jersey
25-1583

Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
1:24-cv-5600-HB

United States District Court for the District of New Jersey
25-1584

Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
1:24-cv-5656-MB

United States District Court for the District of New Jersey
25-1585

Atlas Data Privacy Corp., et al v. Searchbug, Inc.
1:24-cv-05658-MB

United States District Court for the District of New Jersey
25-1586
Case: 25-1557

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Case Name:
D.C. Docket No.:
Court or Agency:
Docket No.:

Document: 18 Page:8 Date Filed: 04/14/2025

Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
1:24-cv-05775-HB

United States District Court for the District of New Jersey
25-1587

Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
1:24-cv-7324-HB

United States District Court for the District of New Jersey
25-1588

Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
1:24-cv-8075-HB

United States District Court for the District of New Jersey
25-1589

Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
1:24-cv-8451-HB

United States District Court for the District of New Jersey
25-1590

Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
1:24-cv-10600-HB

United States District Court for the District of New Jersey
25-1591

Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
1:24-cv-11023-HB

United States District Court for the District of New Jersey
25-1592

Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
1:24-cv-11443-HB

United States District Court for the District of New Jersey
25-1593
